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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 IN RE: CHICAGO BOARD OPTIONS
 EXCHANGE VOLATILITY INDEX                               No. 18 CV 4171
 MANIPULATION ANTITRUST                                  MDL No. 2842
 LITIGATION



      UNCONTESTED MOTION BY ERIN C. DURBA TO WITHDRAW FROM
  PLAINTIFFS’ STEERING COMMITTEE AND BY FTC CAPITAL GMBH AND LRI
            INVEST S.A. TO APPOINT MICHELLE C. CLERKIN TO
                   PLAINTIFFS’ STEERING COMMITTEE

       Erin C. Durba and FTC Capital GmbH and LRI Invest S.A. hereby move for an order:

(i) permitting Ms. Durba to withdraw from the Plaintiffs’ Steering Committee and as counsel for

FTC Capital GmbH and LRI Invest S.A.; and (ii) appointing Michelle C. Clerkin of Motley Rice

LLC as her replacement, for the reasons set forth in the accompanying Memorandum in Support

of this Motion.

       Prior to filing this motion, movants contacted counsel for Defendants, who stated that

Defendants do not object to the relief sought by this motion.

Dated: November 6, 2018
                                             /s/ Erin C. Durba

                                             Erin C. Durba (admitted pro hac vice)
                                             MOTLEY RICE LLC
                                             600 Third Ave., Suite 2101
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                                             Email: edurba@motleyrice.com

                                             Member of Plaintiffs’ Steering Committee




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                                   /s/ Michelle C. Clerkin

                                   Michelle C. Clerkin (pro hac vice pending)
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                                   New York, NY 10016
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                                   Counsel for FTC Capital GmbH and
                                   LRI Invest S.A




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                                      Certificate of Service
        I, Erin C. Durba, an attorney, hereby certify that on November 6, 2018, I effected service
of a copy of this document by filing it on ECF in respect of all Filing Users, and that I will
comply with LR 5.5 as to any party who is not a Filing User or represented by a Filing User.
                                                               /s/ Erin C. Durba

                                                               Erin C. Durba




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